           Case 2:12-cr-00322-JAM Document 162 Filed 01/04/17 Page 1 of 2


 1   JOSEPH A. WELCH, ESQ.
     Law Offices Joseph A. Welch
 2   828 University Avenue
 3   Sacramento, California 95825
     (916) 444-5501
 4   joewelchlaw@yahoo.com

 5

 6                                   UNITED STATES DISTRICT COURT

 7                                   EASTERN DISTRICT OF CALIFORNIA

 8

 9   UNITED STATES OF AMERICA,                        Case No. 2:12-CR-0322 GEB

10                      Plaintiff,

11            v.                                      STIPULATION AND PROPOSED ORDER
                                                      TO CONTINUE THE STATUS
12   TATYANA SHVETS, et. al.,                         CONFERENCE FROM JANUARY 6, 2017
                                                      TO MARCH 3, 2017
13                      Defendants.

14

15            IT IS HEREBY STIPULATED AND AGREED between the parties and their attorneys,

16   Heiko Coppolla, Assistant United States Attorney, Kenny N. Giffard, attorney for Aleksandr

17   Lastovski, Joseph A. Welch, attorney for Tatyana Shvets, Kelly Babineau, attorney for Andrey

18   Lungu, and Robert M. Wilson, attorney for Aleksandr Maslov, that the status conference date of

19   Friday, January 6, 2017, should be continued to Friday, March 3, 2017. The continuance is

20   necessary, as counsel are still reviewing discovery, meeting with the respective clients and

21   investigating information as well as researching various possible resolutions.

22            IT IS SO STIPULATED that the period of time from January 6, 2017, up to and including

23   March 3, 2017.

24   ///

25   ///

26   ///

27   ///

28   ///
                                                      1
                        STIPULATION AND PROPOSED ORDER TO CONTINUE STATUS CONFERENCE
       Case 2:12-cr-00322-JAM Document 162 Filed 01/04/17 Page 2 of 2


 1          Accordingly, the time between January 6, 2017 and March 3, 2017 should be excluded

 2   from the Speedy Trial calculation pursuant to Title 18, United States Code, Section

 3   3161(h)(7)(B)(iv) and Local Code T-4 for defense preparation. The parties stipulate that the ends

 4   of justice served by granting this continuance outweigh the best interests of the public and the

 5   defendant in a speedy trial. 18 U.S.C. Section 3161(h)(7)(A).

 6
            January 3, 2017                       /s/ Kenny N. Giffard
 7                                               KENNY N. GIFFARD
                                                 Attorney for Alexsandr Lastovskiy
 8

 9          January 3, 2017                       /s/ Joseph A. Welch
                                                 JOSEPH A. WELCH
10                                               Attorney for Tatyana Shvets
11
            January 3, 2017                       /s/ Kelly Babineau
12                                               KELLY BABINEAU
                                                 Attorney for Andrey Lungu
13

14          January 3, 2017                       /s/ Robert M. Wilson
                                                 ROBERT M. WILSON
15                                               Attorney for Aleksandr Maslov
16
            January 3, 2017                       /s/ Heiko Coppola
17                                               HEIKO COPPOLA
                                                 Attorney for the United States
18

19

20           IT IS SO ORDERED.
             The status conference presently set for January 6, 2017 at 9:00 A.M., is hereby continued
21   to March 3, 2017 at 9:00 A.M., and time under the Speedy Trial Act will be excluded from
22   January 6, 2017 through March 3, 2017 pursuant to Title 18, United States Code, Section
     3161(h)(7)(B)(iv) and Local Code T-4 for defense preparation, based on the representations of the
23   parties in their stipulation. The Court finds that the ends of justice served by granting this
     continuance outweigh the best interests of the public and the defendant in a speedy trial.
24

25          Dated: January 3, 2017
26
27

28
                                                     2
                        STIPULATION AND PROPOSED ORDER TO CONTINUE STATUS CONFERENCE
